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       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

 MAURICE P SORELLE JR
                                                          CASE NO. CIV 05-142-S-LMB
                               Plaintiff
                                                          ORDER OF DISMISSAL
 vs.                                                      WITH PREJUDICE

 HOUSEHOLD FINANCE CORPORATION,
 a Delaware Corporation

                               Defendant.

       THIS COURT having reviewed the Stipulation of the Parties,and the record and file herein,

hereby FINDS AND ORDERS as follows:

       1. THE COURT FINDS that the Plaintiff Maurice P Sorelle Jr. has never had an account

with the Defendant Household Finance Corporation (HFC) or its affiliates such as Beneficial

Finance, including but not limited to an account identified as No.401700-5, and that any reference

to such an account should be deleted by any Credit Reporting Agency or creditor.

       2. AND THE COURT ORDERS that this matter is dismissed with prejudice with each party

responsible for their own costs and attorneys fees.

                                                      DATED: September 15, 2005.



                                                      Honorable Larry M. Boyle
                                                      Chief U. S. Magistrate Judge




ORDER OF DISMISSAL - 1
